                 Case 8:20-cv-00048-JVS-JDE Document 744-48 Filed 05/25/22 Page 1 of 3 Page ID
                                                  #:52173



             1
                               UNITED STATES DISTRICT COURT
             2       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
             3

             4   MASIMO CORPORATION,                          CASE NO. 8:20-cv-00048-JVS
                 a Delaware corporation; and                  (JDEx)
             5
                 CERCACOR LABORATORIES, INC.,                 [PROPOSED] ORDER
             6   a Delaware corporation,                      SUSTAINING APPLE’S
                                                              OBJECTIONS TO SPECIAL
             7                      Plaintiffs,               MASTER ORDER NO. 9
             8                                               Date: July 11, 2022
                       v.
             9                                               Time: 1:30 p.m.
                 APPLE INC.,
           10    a California corporation,                   Discovery Cut-Off: August 12, 2022
           11                                                Pre-Trial Conference: March 13, 2023
                                    Defendant.               Trial: March 28, 2023
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                 [PROPOSED] ORDER SUSTAINING APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
Wilmer Cutler
Pickering Hale                                                       Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-48 Filed 05/25/22 Page 2 of 3 Page ID
                                                  #:52174



             1         This matter is before the Court pursuant to Defendant Apple Inc.’s Objections
             2   to Special Master Order No. 9, which denied Apple’s motion to compel the
             3   production of documents responsive to Apple’s Requests for Production (“RFP”)
             4   Nos. 346, 350, 358, 360, 361, 364, 366, 369, 371, and 373-375:
             5             x Apple’s RFP Nos. 346 and 350 seek documents and communications
             6                sufficient to show
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             9                                           ; and
           10              x RFP Nos. 358, 360, 361, 364, 366, 369, and 371 seek documents
           11                 concerning
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           16    Having considered the briefing, supporting documents, and all other matters
           17    properly before the Court, being fully advised on the proceedings, and for good cause
           18    appearing:
           19          IT IS HEREBY ORDERED THAT Apple’s objections to the Special Master’s
           20    Order No. 9 are SUSTAINED and the portion of Special Master Order No. 9 denying
           21    Apple’s motion to compel production of documents responsive to Apple RFP Nos.
           22    346, 350, 358, 360, 361, 364, 366, 369, 371, and 373-375 is REVERSED. Plaintiffs
           23    are ordered to produce documents responsive to these RFPs within 14 days of the
           24    date of this Order.
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           26          IT IS SO ORDERED.
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                 [PROPOSED] ORDER SUSTAINING APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
Wilmer Cutler
Pickering Hale                                             1         Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-48 Filed 05/25/22 Page 3 of 3 Page ID
                                                  #:52175



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             2   Dated: _________________________
                                                        The Hon. James V. Selna
             3                                          United States District Court Judge
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                 [PROPOSED] ORDER SUSTAINING APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
Wilmer Cutler
Pickering Hale                                             2         Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
